 

Case 1:09-cv-00642-SS Document 18 Filed 10/06/09 Page 1 of 1

 

FILED

IN THE UNITED STATES DISTRICT COURT “ul
FOR THE WESTERN DISTRICT OF TENS OCT -6 AH 9 &

 

 

AUSTIN DIVISION cee co weber haut.

JAIME CORTEZ,

Plaintiff,
-vs- . Case No, A-09-CA-642-SS
TOLTECA ENTERPRISES, INC. d/b/a Phoenix
Recovery Group,

Defendant.

ORDER

BEIT REMEMBERED on this day the Court reviewed the file in the above-styled cause, and
specifically the plaintiff’ s motion to dismiss the defendant’s counterclaim and the responses and sur-
response, and thereafter, enters the following: |

IT IS ORDERED that the motion to dismiss the defendant’s counterclaim is

DENIED. Plaintiff Jaime Cortez can take the position at any time that his pleaded causes of

action pursuant to a specific statute does not permit liability to a defendant’s plea for

attorney’s fees. However, the Federal Rules of Civil Procedure expressly permit attorney’s

fees for violations of Rule 11, and that is sufficient basis in and of itself to allege a

counterclaim or to make a claim for attorney’s fees and/or sanctions at any time during the

pendency of a lawsuit.

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SIGNED this the 5 day of October 2009.

J ean tptrf+-

UNITED STATES DIGTRACT JUDGE
